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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

   UNITED STATES OF AMERICA
                                         Case No. 8:08-cr-450-T-33EAJ
   v.

   ANTONIO MCCLAIN
   ______________________________/

                                   ORDER

         This cause is before the Court pursuant to Defendant’s

   Motion for Reconsideration of In Camera Order of February 5,

   2010, and Subsequent Related Rulings (the “Reconsideration

   Motion” Doc. # 225), which was filed on February 16, 2010.

   The   Government    filed   a   Response   in   Opposition    to   the

   Reconsideration Motion on February 18, 2010 (Doc. # 230).

   This Court held oral argument on the Reconsideration Motion on

   February 18, 2010, and for the reasons stated below, the

   Reconsideration Motion is denied.

         Analysis

         On July 8, 2009, Defendant filed his Notice of Expert

   Evidence of a Mental Condition (Doc. # 96), pursuant to Rules

   12.2(b) and 16(b) of the Federal Rules of Criminal Procedure.1


         1
          Rule 16(b)(1)(C) of the Federal Rules of Criminal
   Procedure states:

         The defendant must, at the government's request,
         give to the government a written summary of any
         testimony that the defendant intends to use under
         Rules 702, 703, or 705 of the Federal Rules of
                                                 (continued...)
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   In his notice, Defendant specified that “the defense is not

   asserting insanity as an affirmative defense, but will claim

   at trial the Defendant’s mental disability is relevant to

   determine the mens rea elements of the charged offenses.”

   (Doc. # 96 at 2).2

         On August 25, 2009, the Government filed its Motion in

   Limine to Exclude Evidence Offered Under Defendant’s Notice of

   Expert Evidence of a Mental Condition and Government’s Motion

   for Independent Psychiatric Examination of the Defendant (the

   “Motion in Limine” Doc. # 134).         Over five months passed with

   no response from Defendant.         Finally, on January 14, 2010,

   Defendant filed his Response in Opposition to the Government’s

   Motion in Limine. (Doc. # 167).




         1
          (...continued)
         Evidence as evidence at trial, if --
         (i) the defendant requests disclosure under
         subdivision (a)(1)(G) and the government complies;
         or
         (ii) the defendant has given notice under Rule
         12.2(b) of an intent to present expert testimony on
         the defendant’s mental condition.     This summary
         must describe the witness’s opinions, the bases and
         reasons for those opinions, and the witness’s
         qualifications.
         2
           McClain’s vague Rule 16(b) Notice (Doc. # 96) did not
   specify or adequately describe the expert evidence he seeks to
   admit.
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         A.    Expert Evidence

         On February 5, 2010, this Court entered a lengthy in

   camera order granting the Government’s Motion in Limine.          The

   Court’s order addressed binding case law including but not

   limited to United States v. Cameron, 907 F.2d 1051, 1061 (11th

   Cir. 1990) and United States v. Westcott, 83 F.3d 1354, 1357-

   58 (11th Cir. 1996).

         The Court’s order determined that psychiatric evidence in

   non-insanity defense cases may be admitted in certain cases.

   However, in United States v. Cameron, 907 F.2d 1051 (11th Cir.

   1990), the court cautioned that such evidence should be

   admitted in very limited circumstances:

         Because psychiatric evidence (1) will only rarely
         negate specific intent, (2) presents an inherent
         danger that it will distract the jury from focusing
         on the actual presence or absence of mens rea, and
         (3) “may easily slide into wider usage that opens
         up the jury to theories of defense more akin to
         justification,” district courts must examine such
         psychiatric evidence carefully to ascertain whether
         it would, if believed, support a legally acceptable
         theory of lack of mens rea.

   Cameron, 907 F.2d at 1067.

         This Court acknowledged that this is a specific intent

   case and Defendant is not asserting an insanity defense.

   However, this Court declined to admit expert evidence because

   the expert evidence proffered to the Court by Defendant was

   not keyed to Defendant’s mens rea at the time the alleged

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   crime    was   committed.    See         Westcott,   83   F.3d    at   1358

   (“psychiatric evidence is admissible to negate mens rea when

   the evidence focuses on the defendant’s specific state of mind

   at the time the offense was committed”).

           In the Court’s in camera order, the Court noted: “The

   Court has carefully evaluated the psychiatric evidence and

   comes to the conclusion that, even if believed, such evidence

   does not support a legally acceptable theory of lack of mens

   rea.     The evidence describes McClain’s general mental and

   emotional defects, but it does not describe his state of mind

   or mens rea at the time of the alleged crime.”

           The Court denies the motion for reconsideration to the

   extent that the motion for reconsideration seeks an order

   allowing expert testimony concerning Defendant’s mental state

   or any other mens rea testimony.          The Court stands behind its

   order granting the Government’s Motion in Limine.                The Court

   finds now, as it did in its written order, that the proffered

   expert testimony would violate the Insanity Defense Reform

   Act.    Further, the Court has analyzed the evidence under Rule

   403 of the Federal Rules of Evidence and determines that its

   probative value is greatly outweighed by its danger to confuse

   and mislead the jury.




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         B.     Lay Witnesses

         At the eleventh hour, Defendant expressed his desire to

   present lay witness testimony regarding Defendant’s mental

   health and related issues.        The Government orally moved to

   exclude such evidence, arguing that such lay testimony would

   be an attempt to “back door” this Court’s in camera order

   excluding expert psychiatric evidence.         The Court heard from

   both sides and then orally granted the Government’s motion to

   exclude lay testimony concerning Defendant’s mental health.

         Defendant    now   seeks   reconsideration    of   that   order,

   arguing that this Court is preventing Defendant from putting

   on a defense, entirely.      Defendant wants to inform the jury,

   through lay witnesses (including family members) that he has

   been on Social Security Disability since birth because he is

   intellectually disabled.      Defendant also wants family members

   to testify that Defendant is “slow.”

         The Court has considered these arguments and determines

   that Defendant should not be allowed to present mental health,

   diminished capacity evidence through experts or through lay

   testimony.    Defendant is not entitled to present his excluded

   expert diminished capacity evidence through lay witnesses.

   Such back-door tactics are not permitted in this Court.

   Further, the Court’s Rule 403 analysis applies with equal



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   force to lay witness testimony.            Put simply, diminished

   capacity evidence in this case, coming from experts of lay

   witnesses, presents too great a danger of confusion of the

   issues and misleading the jury.

         Accordingly, it is now

         ORDERED, ADJUDGED, and DECREED that:

         Defendant’s Motion for Reconsideration of In Camera Order

   of February 5, 2010, and Subsequent Related Rulings (Doc. #

   225) is DENIED.

         DONE and ORDERED in Chambers in Tampa, Florida, this 18th

   day of February, 2010.




   Copies:

   All Counsel of Record




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